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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


MARIA VERGARA, et        al.,                         Case   No. l:15-CY-06942

                                Plaintiffs,           Hon. Thomas M. Durkin

       V.


UBER TECHNOLOGIES, INC.,

                                Defendant.


              ORDER GRANTING FINAL APPROVAL OF CLASS
    ACTION SETTLEMENT AND GRANTING IN PART AND DENYING IN PART
   PLAINTIFFS' MOTION FOR APPROVAL OF ATTORNEYS' FEES. EXPENSES.
                AND INCENTIVE AWARDS AND JUDGMENT

       WHEREAS, on August 17, 2017, this Court entered an order granting preliminary

approval of the Parties' Settlement Agreement (the "Preliminary Approval Order"), preliminarily

approving the proposed Settlement        of this Action pursuant to the terms of the Settlement
Agreement, certifying the Settlement Classes, and directing that notice be given to the members

of the Settlement Classes;

       WHEREAS, pursuant to the Parties' plan for providing notice to the Settlement Classes

(the "Notice Plan"), the Settlement Classes were notified of the terms of the proposed Settlement

and of a Final Approval Hearing to determine, inter alia,whether the terms and conditions of the

Settlement Agreement are fair, reasonable, and adequate for the release and dismissal of the

Released Claims against the Releasees; and

       WHEREAS, a Final Approval Hearing was held on January 23,2018. Prior to the Final

Approval Hearing, proof of completion of the Notice Plan was filed with the Court, along with

declarations of compliance. Settlement Class members were therefore notified of the terms of the




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proposed settlement and their right to appear at the hearing in support of or in opposition to the

proposed Settlement;

        WHEREAS, on February 26, 2018, the Court granted Plaintiffs' Motion for Final

Approval of the Class Action Settlement, granted Plaintiffs' Motion for Leave to File Excess

Pages, granted in part and denied in part Plaintiffs' Motion for Approval of Attorneys' Fees,

Expenses, and Incentive Awards, and denied Plaintiffs' Motion to Strike the Objection of Kerry

Ann Sweeney, but ovemrled Sweeney's objection;

        NOW, THEREFORE, the Court, having heard the oral presentations made at the Final

Approval Hearing, having reviewed all of the submissions presented with respect to the proposed

Settlement, having determined that the Settlement is fair, adequate, and reasonable, and having

reviewed the materials in connection therewith,

        it is hereby ORDERED, ADJUDGED AND DECREED THAT:

        l.     The capitalized terms used      in this Order and Judgment shall be construed
according to those terms' definitions in the Settlement Agreement unless otherwise stated.

        2.     The Court has jurisdiction over the subject matter of this case, all claims raised

therein, and all Parties thereto, including the members of the Settlement Classes.

        3.     The Court finds, solely for purposes of considering this Settlement, that the

requirements of Federal Rule of Civil Procedure 23 are satisfied, including requirements for the

existence of numerosity, commonality, typicality, adequacy of representation, manageability    of
the Settlement Classes for settlement purposes, that common issues of law and fact predominate

over individual issues, and that Settlement and certification of the Settlement Classes are

superior to alternative means of resolving the claims and disputes at issue in this case.




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        4.     The Settlement Classes, which will be bound by this Final Approval Order and

Judgment, shall include all members of the Settlement Classes who did not submit a timely and

valid Request for Exclusion. The members of the Settlement Classes who have              requested

exclusion are identified in Exhibit A hereto.

       5.      Plaintiffs Jonathan Grindell, Sandeep Pal, James Lathrop, Jennifer Reilly, Justin

Bartolet, and Maria Vergara shall serve as Class Representative of the Settlement Classes.

       6.      The Court appoints the following counsel as Class Counsel for purposes of this

settlement:

               Hassan A. Zavareei
               Andrea R. Gold
               Andrew J. Silver
               TYCKO & ZAVAREEI LLP
               1828 L Street, N.W., Suite 1000
               Washington, D.C. 20036; and

               Myles McGuire
               Evan M. Meyers
               Paul T. Geske
               MCGUIRE LAW, P.C.
               55 W. Wacker Drive, 9th Floor
               Chicago, IL 60601

       7.      For purposes of the Settlement and this Final Approval Order and Judgment, the

Settlement Classes are:

       Settlement Class A: All persons or entities within the U.S. who, from December 31,2010
       up to and including August 17,2017, used or subscribed to a wireless or cellular service
       and were sent one or more non-emergency text messages, utilizing Twilio Inc.'s system,
       in connection with Uber's Refer-a-Friend Program.

       Settlement Class B: All persons or entities within the U.S. who, from December 31,2010
       up to and including August 17 , 2017 , started Uber's driver application process but did not
       become an ooactive" driver in Uber's system, who used or subscribed to a wireless or
       cellular service, and to whom Uber sent one or more non-emergency text messages after
       the user or subscriber requested Uber to discontinue sending text messages.




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        Settlement Class C: All persons or entities within the U.S. who, from December 31,2010
        up to and including August 77,2017, were not party to a contract with Uber and/or who
        did not provide his or her cellular phone number to Uber, and who used or subscribed to a
        wireless or cellular service to which Uber sent one or more non-emergency text
        messages.

Excluded from the Settlement Classes are all persons who elect to exclude themselves from the

Settlement Classes, the Court and staff to whom this case is assigned, and any member of the

Court's or staff s immediate family.

        8.      The Court finds that the Notice Plan set forth in Section        IX of the Settlement
Agreement and effectuated pursuant       to the Preliminary Approval Order constitutes the best
notice practicable under the circumstances and shall constitute due and sufficient notice to the

Settlement Classes    of the pendency of this     case, certification   of the Settlement Classes for
settlement purposes only, the terms      of the   Settlement Agreement, and the Final Approval

Hearing, and satisfies the requirements of the Federal Rules of Civil Procedure, the United States

Constitution, and any other applicable   law. Further, the Court finds that Defendant has timely

satisfied the notice requirements of 28 U.S.C. Section 1715.

        9.      The Settlement, as set forth in the Settlement Agreement and this Order, is in all

respects fair, reasonable, adequate and in the best interests of the Settlement Classes, taking into

account the risks that both sides faced with respect to the merits of the claims alleged and

remedies requested, the risks of maintaining a class action, and the expense and duration         of
further litigation, and therefore the Settlement is approved. The Parties shall effectuate the

Settlement Agreement according to its terms. The Settlement Agreement and every term and

provision thereof shall be deemed incorporated herein as if explicitly set forth and shall have the

full force of an Order of this Court.




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        10.      The sole pending objection to the Settlement is ovemrled. By the December 22,

2017 objection deadline, only two Settlement Class Members had filed objections. (Dkt. 98).

One of the objectors, Marie Krikava, moved to withdraw her objection (Dkt. 97) and stated her

support for final approval of the "excellent settlement." (ld.).The Court subsequently granted

Krikava's motion to withdraw (Dkt. 103) and considers the objection withdrawn. Thus, the only

pending objection was filed by Kerry Ann Sweeney. Her objection is ovemrled for all of the

reasons set forth in this Court's Order of February 26,2018.     (Dkt. 111).

        I   l.   Additionally, the Court finds that Ms. Sweeney did not produce documents in

response    to a Subpoena for Documents that was served on her by Plaintiffs, and Ms. Sweeney

also did not appear for her deposition that was scheduled for January 22,2018, pursuant to a

Subpoena served by Plaintiffs. (See   Dkt. I 10 at 15-16; Dkt.   104   at2 n.3.)

        12.      Upon the Effective Date, the Releasors shall have, by operation of this Final

Approval Order and Judgment, fully, finally and forever released, relinquished, and discharged

the Releasees from all Released Claims pursuant to Section VII of the Settlement Agreement.

        13.      Releasors are hereby permanently barred and enjoined              from   instituting,

commencing or prosecuting, either directly or in any other capacity, any Released Claim against

any of the Releasees.

       14.       This Final Approval Order and Judgment, the Settlement Agreement,                the

Settlement which it reflects, and any and all acts, statements, documents or proceedings relating

to the Settlement are not, and shall not be construed as or used as an admission by or against

Uber or any other Releasee of any fault, wrongdoing, or liability on their part, or of the validity

of any Released Claim or of the existence or amount of damages.




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         15.   The claims    of the Plaintiff   Class Representatives and         all members of     the

Settlement Classes in this case are hereby dismissed in their entirety with prejudice. Except as

otherwise provided in this Order and the Court's Order of February 26,2018, the parties shall

bear their own costs and attorneys' fees. The Court reseryes jurisdiction over the implementation

of the   Settlement, including enforcement and administration        of the   Settlement Agreement,

including any releases in connection therewith and any other matters related or ancillary to the

foregoing.

         16.   Having reviewed Plaintiffs' Motion for Approval of Attorneys' Fees, Expenses

and Incentive Awards, the Court hereby grants the motion in part and denies              it in part, and
approves payment    of attorneys' fees, costs and     expenses   to Class Counsel in the amount of

$6,312,900 (attorneys'fees) plus $205,732.48 (costs and expenses). This amount shall be paid

from the Settlement Fund in accordance with the terms of the Settlement Agreement. The Court,

having considered the materials submitted by Class Counsel in support of their Motion for Final

Approval and Motion for Approval of Attorneys' Fees, Expenses, and Incentive Awards, finds

this award of attorneys' fees, costs and expenses appropriate and reasonable for all of the reasons

outlined in the Court's Order of February 26,2018.

         17.   The Court approves service awards          of   $10,000.00   for   each   of the   Class

Representatives and specifically finds such amounts to be reasonable          in light of the services
performed by the Class Representatives for the Settlement Classes, including taking on the risks

of litigation and helping   achieve the compensation being made available           to the Settlement
Classes. This amount shall be paid from the Settlement Fund in accordance with the terms of the

Settlement Agreement.




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       18.     The Court finds that no reason exists for delay in entering this Final Order and

Judgment. Accordingly, the Clerk is directed to enter this Final Order and Judgment.

       19.     The Parties, without further approval from the Court, are hereby permitted to

agree to and adopt such amendments, modifications and expansions of the Settlement Agreement

and its implementing documents (including all exhibits to the Settlement Agreement) so long as

they are consistent in all material respects with the Final Order and Judgment and do not limit

the rights of the Settlement Class Members.

       20.    Uber has agreed to undertake certain prospective relief to benefit the Settlement

Class Members. Uber   will undertake the following practices:

       a)     Uber agrees that for a period of two years from the Effective Date it will not send

              server-assisted driver-referral text messages from the Uber app on Uber-issued

              cellular phones.

       b)     Uber agrees that for at least two years from the Effective Date it will maintain an

              opt-out protocol for recipients of text messages who initiate but do not complete

              the driver sign up process, which will at a minimum unsubscribe recipients from

              pipeline driver SMS messaging who reply with any of the opt-out words or

              phrases on Appendix A.

       c)     Uber agrees to adhere to the following procedures by February 28,2018 or the

              Effective Date, whichever is later, for a minimum of two years: (i) Uber's servers

              will delete any phone number    entered during the rider account sign-up process

              that is not verified within 15 minutes; (ii) Uber will display the phone number

              used during the rider account sign-up process on the app screen where a new

              verification text can be requested with the note "Did you enter the correct




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               number?"; and   (iii) after   one attempted verification text resend, the user   will   be

               forced to re-enter the phone number used during sign-up.

       21.     Without affecting the finality of this Final Judgment for purposes of appeal, the

Court retains jurisdiction as   to all   matters related    to the administration,   consummation,

enforcement, and interpretation of the Settlement Agreement and this Final Order and Judgment,

and for any other necessary purpose.




IT IS SO ORDERED.



Dated: March 1,2018


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                                                              Hon. Thomas M. Durkin
                                                              U.S. District Court Judge




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               Exhibit A
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                                                Vergara v. Uber Technologies.inc.
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                                                        Requests for Opt Outs



                                            1    900000001    ROBERT GILCHRIEST
                                            2    900000002    TAMMY L ERICKSON
                                            3    900000003    VICENTE PERALTA PULLA
                                        4        900000004    ROBERT RIEGEL
                                            5    90000000s    JACQUIE Y BLEVINS
                                            6    900000005    TERESITA RAMOS
                                        7        900000007    PABLO HERNANDEZ
                                        8        900000008    M   RENA
                                        9        900000009    SARA RODRIGUES
                                       10        900000010    GEORGE J MURRAY
                                       LL        900000011    ANTHONY RANSOM
                                       t2        900000012    MARK FRIEND
                                       13        900000013   JENNIFER NG
                                       t4        900000014    ERION META
                                       15        900000015    CLEBER AGUIAR
                                       15        900000015   JOHN A FISCIAN
                                       17        900000018   ALICIA JACOB
                                       18        900000019   TED R DORFMAN
                                       19        900000020   ERIKA KNOWLTON
                                       20        900000021   CHRISTINE A HAMILTON
                                       27        900000022   UZOAMAKA OHAI
                                       22        900000023   ASHLYN MALLISON
                                       23        900000024   STATE FARM INSURANCE
                                       24        900000025   LAINE K SANBURG
                                       25        900000026   CRYSTAL ROFEIM
                                       26        900000027   STEVEN COLLOTON
                                       27        900000028   CAMILO TOLENTINO
                                       28        900000029   KRYSTAL LAWS
                                       29        900000030   MUHAMMAD SHAHID
                                       30        900000031   LIZHONGFEI LI
                                       31        900000032   IGNACIO GALINDO
                                       32        900000033   MARIA PLAKSINA
                                       33        900000034   ROLANDO A CUEVAS
                                       34        900000035   TERRIANNE PEARSON
                                       35        900000035   ADRIANA LARA
                                       35        900000037   AARON HALLIBURTON
                                       37        900000038   PATRICK HENDERSON
                                       38        900000039   ZHENGQIANG FU
                                       39        900000040   FIRASS TASLAQ



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                                              SHAMEKA V RAMSAY
                                              ALEKSANDER LIWAK




                                              MONICA PRIETO
                                              PATRICK D MIKKELSON


                                              KERRY S BLOSS




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